      Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 1 of 25




               IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF PENNSYLVANIA
                                                )
UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
      v.                                        )                            24-cv-612
                                                             Civil Case No. _____________
                                                )
MICHAEL DICIURCIO,                              )
                                                )
              Defendant.                        )
                                                )


                       DECLARATION OF JOSEPH K. DOWNEY
     1.      I, Joseph K. Downey, am an Aviation Safety Technician (“AST”) in the Federal

Aviation Administration (“FAA”). I began my employment for the FAA on August 19, 2018,

as an Aviation Safety Assistant. Since March 31, 2019, I have also served as the Assistant

Unmanned Aircraft Systems (“UAS”) Focal Point at the Philadelphia Flight Standards Office. I

have been flying unmanned model aircraft since 1990 and I hold a certification from The

Recreational UAS Safety Test (“TRUST”).

     2.      The FAA is charged with regulating the operation of commercial and recreational

aircraft, including small Unmanned Aircraft Systems (“sUAS”), also referred to as “drones.”

As an AST, I provide technical support to aviation safety inspectors and the public, which

includes certificate requirements for airmen and aircraft.

     3.       As part of my duties as an AST, I oversee legitimate aviation events, including

drone light shows, airshows, and other UAS and sUAS activities to ensure compliance with

safety guidelines. I also conduct investigations of complaints received from the public. In the

course of an FAA investigation, I attempt to identify the sUAS operator, determine whether

there was a violation, examine any evidence of the conduct complained of, conduct interviews,
      Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 2 of 25




and draft correspondence and reports. I also provide training in-house to sUAS inspectors, and

to sUAS operators in the general public.

                                   DiCiurcio’s YouTube Channel

     4.      I am familiar with Michael DiCiurcio’s YouTube channel, PhillyDroneLife. On

his channel, DiCiurcio solicits donations from viewers to support his channel and enable him to

purchase more drones. He also solicits tiered membership level payments in exchange for

access to additional video content. Non-livestreamed videos that DiCiurcio posts contain

advertisements; presumably, DiCiurcio profits from them.

     5.      The channel posts real-time comments from viewers of DiCiurcio’s videos. I have

seen some viewers commenting favorably on DiCiurcio’s unsafe sUAS operating practices,

including from viewers who later were counseled and educated in connection with their own

violations of sUAS safety guidelines.

     6.      I have viewed all of the videos considered as part of the investigations identified

as 2020EA170009 and 2020EA170016. I participated with Principal Maintenance Inspector

(“PMI”) Michael Bauer in selecting the thirty-four videos from DiCiurcio’s YouTube channel

that were submitted to FAA counsel and that form the basis for imposing the $182,004.00

penalty against DiCiurcio for regulatory violations.

                                  DiCiurcio’s Ongoing Violations

     7.      On February 1, 2021, the FAA’s Philadelphia Flight and Standards Office

received a complaint regarding DiCiurcio’s sUAS flying. The complaint referenced

DiCiurcio’s YouTube channel, PhillyDroneLife, and DiCiurcio continuing to “break the rules”

operating sUAS. I opened Enforcement Case 2021EA170002.
      Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 3 of 25




     8.      As part of my investigation for Enforcement Case 2021EA170002, during the

month of March 2021, PMI Bauer and I viewed all the videos most recently posted on

DiCiurcio’s YouTube channel. Although DiCiurcio still posted almost daily as before, he was

no longer livestreaming his videos; the videos had been edited before posting.

                                          DiCiurcio’s Edits

     9.      Operators of sUAS have vital information at their fingertips during flight. The

sUAS operator attaches the sUAS remote control to his phone or tablet, which allows him to

receive and see the information provided from the sUAS in flight. Alternatively, the operator

obtains the same information using first person view goggles in lieu of a phone or tablet.

Using goggles prevents the operator from seeing anything around him, as he is looking through

the sUAS camera via the goggles, and the goggles obscure his own immediate and peripheral

vision. The sUAS camera transmits video of what it sees in flight. In addition, the sUAS

“heads-up” display is visible on the control panel (seen through the phone, tablet, or goggles).

The “heads up” display shows data such as speed, altitude, and battery strength, and many

other data points. The “heads up” display is designed to assist the operator to maintain safe

control of the sUAS by informing the operator of the sUAS altitude, GPS coordinates, speed,

and visible obstacles. Coincidentally, this information will notify the operator when the sUAS

is flying carelessly and recklessly, or malfunctioning.

     10.     The sUAS “heads up” display also provides real-time written warnings to the

operator. For example, DiCiurcio typically operates sUAS manufactured by DJI. These sUAS

warn the operator explicitly when he is exceeding maximum permitted altitude and references

the FAA’s 400 feet altitude limit. Earlier models allowed the operator to swipe away the

warning; on more recent models the operator must click a button on the screen to agree to
        Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 4 of 25




 exceed the maximum permitted altitude before the sUAS will continue flying. The warning

 also tells the operator that his refusal to agree and stay within the maximum permitted altitude

 does not authorize him to exceed that altitude, and he may be violating federal regulations. DJI

 sUAS provide similar warnings relating to other hazards, forcing the operator to choose to

 adhere to the safety guide, or not, for loss of signal, electrical interference, or lost link to the

 remote control, among many others. These warnings are designed to assist the operator to

 operate the sUAS safely.




Above is a screen shot of an unedited “heads up” display from one of DiCiurcio’s earlier sUAS

flights. The weak signal notice indicates that the operator may lose control of the sUAS.
        Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 5 of 25




Above is a photo of a sUAS operator using goggles in lieu of a phone or tablet.




       11.     After receiving notice of the monetary penalty for his safety violations, DiCiurcio

 started posting edited videos. First, during videorecording he conceals the “heads-up” display

 screen data, including date, speed, altitude, and warnings. After videorecording, DiCiurcio

 edits out any data, information, and warnings that may have appeared during his flight.

       12.    In mid-2021, I logged on to FAA’s Safety Performance Analysis System, which

 tracks airmen certificates, among other things. I confirmed that DiCiurcio has never held a

 Remote Pilot Certificate as required by Part 107 of the FAA’s Small Unmanned Aircraft

 Systems Regulations.

                    Citizen Complaints of DiCiurcio’s Ongoing Violations

        13.   Between February 2021 and June 2023, the FAA received numerous citizen

complaints about DiCiurcio’s reckless flying.
        Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 6 of 25




         14.     On July 21, 2021, the FAA received a citizen complaint reporting, among other

hazardous maneuvers, that Dicuircio “[f]lies right over Penns Landing Heliport,” and is “rolling

the drone as he goes over I95.” The citizen complainant provided a YouTube link with video of

DiCiurcio’s flight depicting the hazardous flying.

         15.     On August 17, 2021, the FAA received a citizen complaint providing a YouTube

link with video recording of drone flight operated by DiCiurcio. The complaint described the

video to depict DiCiurcio as having “ZERO CONTROL once again over the city near Helipad.”

         16.     On January 3, 2022, the FAA received a citizen complaint providing a YouTube

link with video recording of a drone flight operated by DiCiurcio. The complaint described the

video to show DiCiurcio “[f]lying over hundreds of people assembled for the Mummers Parade.”

         17.     On January 12, 2022, the FAA received a complaint providing a YouTube link

with video depicting DiCiurcio “[flying] into Camden and also chasing and disturbing birds.”

         18.     The FAA received an email on January 31, 2022, providing a YouTube link with

video recording of drone flight operated by DiCiurcio. The complaint described the video to

depict DiCiurcio engaging in “city flying, hovering over heavy fast traffic … never has it in line

of sign[sic].”

         19.     On February 23, 2022, the FAA received a complaint providing a YouTube link

with video of DiCiurcio chasing birds with his drone.

         20.     On February 27, 2022, the FAA received a complaint providing a YouTube link

with video recording of a drone flight depicting DiCiurcio operating during a Presidential No Fly

Zone and “talking repeatedly about high winds.”

         21.     On June 7, 2022, the FAA received a complaint providing a YouTube link with

video recording of a drone flight showing DiCiurcio flying “[ ]flying directly over people on [a]
        Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 7 of 25




roof top restaurant”, and the complaint describes that DiCiurcio is “[ ]nearly on top of the

people.”

           22.   On June 21, 2022, the FAA received a complaint providing a YouTube link with

video recording of a drone flight portraying DiCiurcio “[f]lying over 1.5 miles away, over a busy

multi-lane highway, and at least one time, directly over a pedestrian.” In the video, the complaint

describes that DiCiurcio “[ ]states clearly that he has lost track of the drone toward the end of the

video, i.e., he can’t see it and it is obviously well beyond VLOS, even though he is most of the

way home by that time.”

           23.   On July 5, 2022, the FAA received a complaint providing a YouTube link with

video recording of a drone flight exhibiting Diciurio’s hazardous operation of his drone by flying

through fireworks displays; operating in Class B Airspace at nighttime; and hovering over

crowds of people for long periods of time.

           24.   On January 7, 2023, the FAA received a complaint titled “Mikey crashes into a

building on Broad St.” The complaint attached a YouTube video link depicting the incident.

           25.   On June 29, 2023, the FAA received a complaint providing a YouTube link with

video recording of a drone flight showing DiCiurcio flying “[ ]directly over people and moving

vehicles, and well out of visual line of site.”

                                         DiCiurcio’s Recent Videos

           26.   DiCiurcio livestreamed a video dated February 15, 2022, titled “The F@#k the

FAA Show Live.” In that video, DiCiurcio threatens to crash his sUAS into a building. DiCiurcio

posts himself making statements like, “I can do what I want the FAA is scared of me” (Sept. 11,

2022), and bragging about violating the regulations (March 7, 2023).
        Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 8 of 25




        27.    DiCiurcio has stated in his videos that he will never comply with FAA regulations

and encourages other sUAS operators to follow his lead. In a video dated October 12, 2021,

DiCiurcio stated that he thinks the FAA cannot do anything to him; he plans to see how many

violations he can accumulate in one flight and encourages other sUAS operators do the same to

push back against the FAA.

        28.    I have viewed all the videos mentioned and attached to the foregoing complaints.

What the videos show is consistent with the statements in the email complaints quoted above. I

provided all the videos to the FAA Cyber Security Branch for preservation as evidence.

        29.    One citizen complaint received by the FAA on June 21, 2022, stated about

DiCiurcio’s statements about his sUAS flying, “[t]his will snowball with thousands of copycat

pilots doing equally dangerous and illegal flying.” Another citizen expressed how “deeply

concerning for both the safety of the residents and commuters in Philadelphia, as well as the

reputation of the drone pilot community” that DiCiurcio’s conduct presents. June 29, 2023.

        30.    Copies of the citizen complaints referenced herein are attached hereto as Exhibit

1.

       I declare under penalty of perjury under the laws of the Commonwealth of Pennsylvania

that the foregoing is true and correct.
                                                  JOSEPH K              Digitally signed by JOSEPH K

       2/8/2024
 Date: ______________                             DOWNEY SR
                                                                        DOWNEY SR
                                                                        Date: 2024.02.08 10:43:38 -05'00'


                                                  JOSEPH K. DOWNEY
                                                  Aviation Safety Technician
                                                  Philadelphia Flight Standards District Office
                                                  Federal Aviation Administration
Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 9 of 25




   Exhibit 1
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 10 of 25


From:
To:           Downey, Joseph K (FAA); Bauer, Michael (FAA); Vaughan, Judith (FAA)
Subject:      Another INSANE flight, Leaves State
Date:         Wednesday, July 21, 2021 11:35:27 AM




Wow...title says it all...did same flight day
before but forgot to record.

https://youtu.be/THYm2zjXt_w

1. No VLOS or spotter. Wearing
GOGGLES.
2. 60 mph high wind
3. Smokey Haze causing GPS and signal
issues.
4.Flies right over Penns Landing Heliport.
5. Drone is wobbling as he flies.
6. Well over 400 feet and 2 miles out
7. Rolling the drone as he goes over I95
Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 11 of 25
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 12 of 25


From:             Downey, Joseph K (FAA)
To:               Bauer, Michael (FAA); Vaughan, Judith (FAA); Antin, Jason (FAA); Kelly, Brendan (FAA)
Subject:          FW:
Date:             Wednesday, August 18, 2021 7:46:00 AM
Attachments:      image001.png



Hello,

Jason, I wanted to share with you one of the complainants emails. We get
emails like this one almost daily about Mr. DiCiurcios flying in the Philadelphia
area.

Joe Downey
Aviation Safety Technician
Philadelphia, Flight Standards District Office
2 International Plaza, Suite 110
Philadelphia, PA 19113
610-595-2452




From:
Sent: Tuesday, August 17, 2021 11:17 PM
To: Downey, Joseph K (FAA) <joseph.k.downey@faa.gov>; Bauer, Michael (FAA)
<Michael.Bauer@faa.gov>; Vaughan, Judith (FAA) <Judith.Vaughan@faa.gov>
Subject:

Once again a range test. He loses control of drone 2 miles out and has ZERO CONTROL once
again over the city near Helipad. Breaks a host of rules..but he knows it doesn't matter.

https://youtu.be/qv93kJRAgJw
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 13 of 25


From:
To:           Bauer, Michael (FAA); Vaughan, Judith (FAA); Downey, Joseph K (FAA)
Subject:      Philly Mike Insanity
Date:         Monday, January 3, 2022 4:24:55 AM




Wow....title says it all..
Flying over hundreds of people assembled
for the Mummers Parade.

Flying between buildings just insanity!!!

If you recall a student was arrested for
flying his drone over a protest in Center
City that had far less people...

https://youtu.be/V-P2Ue1HxoA
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 14 of 25


From:
To:             Downey, Joseph K (FAA); Vaughan, Judith (FAA); Bauer, Michael (FAA)
Subject:        Mikey Chasing Birds
Date:           Wednesday, January 12, 2022 5:04:58 AM


Here he is flying like a maniac along the river and into Camden and also chasing and
disturbing birds.

https://youtu.be/89Is1hLHpiI
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 15 of 25


From:
To:              7-AEA-PHL-FSDO (FAA)
Subject:         From www.faa.gov: E-mail Philadelphia FSDO
Date:            Monday, January 31, 2022 8:43:57 AM




This email was sent through the Federal Aviation Administration's public website. You have
been contacted via an email link on the following page:
https://www.faa.gov/about/office_org/field_offices/fsdo/phl/contact/

Message
     im from the uk but this youtuber in philly is just teaching other high risk flying. city
     flying, hovering over heavy fast traffic and he is just plain stupid.. never has it in line of
     sign.. https://youtu.be/dFIXfFhrzAg high risk drone flights - youtuber
      Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 16 of 25


From:
To:             Vaughan, Judith (FAA); Downey, Joseph K (FAA); Bauer, Michael (FAA)
Subject:        Michael - 3 miles from home, dangerous flying bird chase
Date:           Wednesday, February 23, 2022 9:46:07 PM
Attachments:    image.png


https://youtu.be/ntPqztiZNdo

Nearly 3 miles from home point but his own admission, no way he can have VLOS during the
day. Also 1200 feet up, 800 more then allowed.

8:18 he shows his telemetry, 13,000 feet away from homepoint flying FMC building so he's
over the Skuykill Expressway

8:58 declares he's lost his position so he has to hit return to home. Clearly over Expressway.

10:00 Flying over refinery

10:15 talks about high winds..At his height winds today were near 35 mph...exceeding drone
specs.

17:00 Starts chasing birds over a shopping center complex...One hits drone and down he goes.
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 17 of 25


From:
To:            Downey, Joseph K (FAA); Bauer, Michael (FAA); Vaughan, Judith (FAA)
Subject:       Flying in Presidential NFZ
Date:          Sunday, February 27, 2022 10:49:42 PM


Flying during a PRESIDENTIAL NFZ

Talking repeatedly about the high winds

Speeds over 95mph low over homes in city.

https://youtu.be/ijsQrJn0xK8
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 18 of 25


From:
To:            Bauer, Michael (FAA); Downey, Joseph K (FAA); Vaughan, Judith (FAA)
Subject:       Philly Dangerous Flight
Date:          Tuesday, June 7, 2022 11:51:55 PM


5:00 flying over people on roof top restaurant brags about flying from car so no VLOS.

At 6:53 his sensor warns he's only 7 feet away from impact.

At 7:00 minutes he is nearly on top of the people. You can see on screen he is NOT ZOOMED
this is the actual location of drone.

https://youtu.be/7MHMs6MhDv4
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 19 of 25


From:
To:              Downey, Joseph K (FAA)
Subject:         RE: From www.faa.gov: E-mail Philadelphia FSDO
Date:            Tuesday, June 21, 2022 8:36:36 AM


Good morning Joseph

The PhillyDroneLife pilot is at it again. This morning he has posted another video depicting blatant
unsafe and illegal flight operations. Flying over 1.5 miles away, over a busy multi-lane highway, and
at least one time, directly over a pedestrian. He states clearly that he has lost track of the drone
toward the end of the video, i.e., he can’t see it and is obviously well beyond VLOS, even though he
is most of the way home by that time.

I sincerely hope you folks can do something about this. This will snowball with thousands of copycat
pilots doing equally dangerous and illegal flying.

Good luck and as always, thank you for your attention.




From: Downey, Joseph K (FAA) <joseph.k.downey@faa.gov>
Sent: Monday, June 13, 2022 7:00 AM
To:
Subject: RE: From www.faa.gov: E-mail Philadelphia FSDO

Good Morning,

Thank you for contacting our office with the UAS flight safety concern. Unfortunately the link you
provided does not seem to be working. Can you double check the link address or provide the
YouTube account and video name so that we can review the video and possibly identify the pilot.
Thank you for contacting us with your concern.

From:
Sent: Sunday, June 12, 2022 7:49 AM
To: 7-AEA-PHL-FSDO (FAA) <7-AEA-PHL-FSDO@faa.gov>
Subject: From www.faa.gov: E-mail Philadelphia FSDO


This email was sent through the Federal Aviation Administration's public website. You have
      Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 20 of 25


been contacted via an email link on the following page:
https://www.faa.gov/about/office_org/field_offices/fsdo/phl/contact/

Message
      Hello. This YouTube video shows multiple serious violations. He flies 2 miles away,
      well beyond visual line of sight, and he flies over moving vehicles, and probably over
      unprotected people. The worst part is when he is nearly out of range and flies over a
      busy multi-lane highway. As a Part 107 pilot myself, I think this sets a terrible example
      to other pilots. https://www.youtube.com/watch?v=nIkk9foS0as&t=7s Thanks for our
      consideration.
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 21 of 25


From:             Downey, Joseph K (FAA)
To:
Cc:               Bauer, Michael (FAA)
Subject:          RE: Drone Violations
Date:             Tuesday, July 5, 2022 8:10:00 AM
Attachments:      image001.png
                  image002.png


Good Morning,

Thank you for sending us this information. Where did you capture the information from. We need
to be able to identify and contact the operator to proceed with an investigation.

Joe Downey
Aviation Safety Technician
Philadelphia, Flight Standards District Office
2 International Plaza, Suite 110
Philadelphia, PA 19113
Office 610-595-2452
Cell 610-392-8356




From:
Sent: Tuesday, July 5, 2022 5:25 AM
To: Bauer, Michael (FAA) <Michael.Bauer@faa.gov>; Downey, Joseph K (FAA)
<joseph.k.downey@faa.gov>
Subject: Drone Violations

This person broke several drone laws last night at the Audubon NJ fireworks.

1. Hovering over the crowds of people for long periods of time.
2. Nighttime operation in PHL Class B Airspace
3. Flew his drone inside fireworks plumes
Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 22 of 25
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 23 of 25


From:
To:           Downey, Joseph K (FAA); Bauer, Michael (FAA)
Subject:      Mikey crashes into a building on Broad St
Date:         Saturday, January 7, 2023 11:10:20 PM


https://youtu.be/9k3EBsp7FRM
       Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 24 of 25


From:
To:                Downey, Joseph K (FAA)
Subject:           Re: From www.faa.gov: E-mail Philadelphia FSDO
Date:              Sunday, July 16, 2023 5:50:30 AM
Attachments:       image001.png


Jospeh,

Thank you for the reply. Although I don’t know the name of the pilot, I’ll do my best to identify the
rest of the information so you are able to determine if he’s breaking any applicable regulations.

Chanel name: PhillyDroneLife
Video Name: DJI Mini3 Pro // Flying In a Smoke Filled Sky! // Best Drone Footage in Philadelphia

I’ve attached a screenshot of the video. All the evidence that I have is in the video, which makes it
clear that he is flying directly over several streets in the open air of downtown. I am not familiar with
the class of airspace of this location.

Unfortunately, this is all the information that I have, but if you think of anything else that I might be
able to provide, please let me know.

Best regards,




From: Downey, Joseph K (FAA) <joseph.k.downey@faa.gov>
Sent: Monday, July 3, 2023 8:02:22 AM
To:
Subject: RE: From www.faa.gov: E-mail Philadelphia FSDO

Good Morning,

Thank you for contacting our office about your UAS/Drone concern. The link you provided will not
work on Government computers. Please forward the YouTube page and the file name of the video
showing the violations. Also, lease provide any other evidence that you may have that can assist in
identifying the operator and the equipment, also please include dates, times and the location that
the violations occurred. It is important that we have evidence of a violation before we accuse
someone of a violation Let me know if you have any questions. Thank you again for sharing your
concern.


Joe Downey
Aviation Safety Technician
Philadelphia, Flight Standards District Office
2 International Plaza, Suite 110
Philadelphia, PA 19113
      Case 2:24-cv-00612-MSG Document 2-2 Filed 02/13/24 Page 25 of 25


Office 610-595-2452
Cell 610-392-8356




From:
Sent: Thursday, June 29, 2023 1:48 PM
To: 7-AEA-PHL-FSDO (FAA) <7-AEA-PHL-FSDO@faa.gov>
Subject: From www.faa.gov: E-mail Philadelphia FSDO


This email was sent through FAA's public website. You have been contacted via an email link
on the following page: https://www.faa.gov/about/office_org/field_offices/fsdo/phl/contact/

Message
      Hello, I am reaching out regarding a highly concerning drone flight that was posted on
      YouTube on June 21, 2023. The flight took place in Philidelphia around the downtown
      area. The pilot appears to have a misunderstanding of the Part 107 regulations and does
      not appear to be abiding by any community based standards. This flight was directly
      over people and moving vehicles, and well out of visual line of site. Here is the link to
      the video in question: https://www.youtube.com/watch?v=vdMxx4Kr7Is&t=1s As a
      recreational and Part 107 UAS pilot, this video is deeply concerning for both the safety
      of the residents and commuters in Philidelphia, as well as the reputation of the drone
      pilot community. Thank you for taking the time to review this report, and please do not
      hesitate to reach out to me with any questions.
